Case: 4:10-cv-00352-JAR Doc. #: 487 Filed: 08/31/17 Page: 1 of 4 PageID #: 49679




                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

JAMIE ARNOLD, et al.,                          )
                                               )
               Plaintiffs,                     )
                                               )
       v.                                      )   No. 4:10-CV-00352-JAR
                                               )
DIRECTV, INC., et al.,                         )
                                               )
               Defendants.                     )


              MEMORANDUM AND ORDER APPROVING SETTLEMENT

       Plaintiffs Jamie Arnold and Clinton Feger and Defendants DirecTV, LLC d/b/a DTV

Home Services and DTV Home Services II, LLC (“DirecTV”), have filed a Joint Motion to

Approve Settlement Agreement (Doc. No. 485). This case was brought under § 216(b) of the

Fair Labor Standards Act of 1938, 29 U.S.C. §§ 201, et seq. (“FLSA”), and, as such, any

settlement must be approved by the Court. Lynn’s Food Stores, Inc. v. United States, 679 F.2d

1350, 1353 (11th Cir. 1982). 1 In support of the motion, the parties have detailed the negotiations

that led to the settlement and the Settlement Agreement itself, which the parties jointly requested

be filed under seal. Because the Court finds that the settlement is fair and equitable to the parties,

it will approve the settlement.

       A district court may only approve a settlement agreement in a case brought under §

216(b) after it determines that the litigation involves a bona fide dispute and that the proposed

settlement is fair and equitable to all parties. Id.; Fry v. Accent Mktg. Servs., L.L.C., No.

4:13CV59 CDP, 2014 WL 294421, at *1 (E.D. Mo. Jan. 27, 2014).



1
  Plaintiffs also brought claims under the Missouri Minimum Wage Law, Mo. Rev. Stat. §§ 290.500, et
seq.
Case: 4:10-cv-00352-JAR Doc. #: 487 Filed: 08/31/17 Page: 2 of 4 PageID #: 49680




       Here, the settlement is the product of contested litigation, as the parties disputed

numerous issues during the litigation. Plaintiffs alleged that AeroSat violated the FLSA by

failing to pay for all hours worked and failing to properly pay overtime premiums and that

DirecTV was liable for those violations. DirecTV asserted several defenses and affirmative

defenses, including that Plaintiffs were properly compensated for all hours worked, that Plaintiffs

were exempt from overtime under the FLSA’s retail exemption in § 7(i); and that Plaintiffs had

insufficient evidence supporting their alleged overtime work. The Court granted DirecTV’s

motion for summary judgment as to Plaintiffs’ claims for gap time (Doc. Nos. 472, 473), but

found there were genuine issues of material fact that precluded summary judgment on most

issues for either side. On July 13, 2017, the parties conducted a mediation session with neutral

Francis X. Neuner, Jr., and settled this case. As a result, the Court finds the parties have a bona

fide dispute.

       To determine whether the settlement is fair and reasonable under the FLSA, courts

consider the same fairness factors typically applied to a Rule 23 class action. Fry, 2014 WL

294421, at *1; Moore v. Ackerman Inv. Co., No. C 07-3058-MWB, 2009 WL 2848858, at *2

(N.D. Iowa Sept. 1, 2009). “Among the factors a court may consider are the stage of the

litigation, the amount of discovery exchanged, the experience of counsel, and the reasonableness

of the settlement amount based on the probability of plaintiffs’ success with respect to any

potential recovery.” Fry, 2014 WL 294421, at *1.

       In the instant case, the parties engaged in contested litigation for seven years, including

extensive discovery and motion practice. The parties spent considerable time analyzing the

merits of the case, discussing various issues implicated in the case, litigating the parties’ cross

motions for summary judgment, and litigating class certification and decertification. The parties




                                               -2-
Case: 4:10-cv-00352-JAR Doc. #: 487 Filed: 08/31/17 Page: 3 of 4 PageID #: 49681




were represented throughout the pendency of the case and during settlement negotiations by

experienced and competent counsel who was able to assess the value of the respective claims and

defenses and incorporate that assessment into the terms of the settlement. Plaintiff Arnold only

claims to have worked for DirecTV for eight weeks during the relevant time period; Plaintiff

Feger only claims to have worked for DirecTV for nine weeks during the relevant time period. In

their discovery responses, Plaintiffs disavowed any “off the clock” claims and the Court

determined on summary judgment that straight time was not recoverable. Thus, the only issue

left was whether overtime premiums paid to Plaintiffs were legally correct based on the

calculation of their regular rate of pay. The Court finds no basis to doubt that the settlement is a

fair and reasonable resolution to both sides in light of the many disputes regarding liability and

the proper way to calculate Plaintiffs’ regular rate of pay.

       The Court further finds the requested attorneys’ fees in this case are reasonable. “It is

well-established that the starting point in determining attorney fees is the lodestar, which is

calculated by multiplying the hours expended by a reasonable hourly rate. Fry, 2014 WL

294421, at *1 (citing Fish v. St. Cloud State Univ., 295 F.3d 849, 851, (8th Cir. 2002)). The

attorneys in this case have undertaken significant motion practice, discovery, negotiated with

opposing counsel, and participated in mediation. The amount of attorneys’ fees requested by

Plaintiffs’ counsel is not opposed by DirecTV and is reasonable based on the amount of time and

effort expended on this case.

       Accordingly,

       IT IS HEREBY ORDERED that the parties’ Joint Motion to Approve Settlement

Agreement [485] is GRANTED.

       A separate order of dismissal will accompany this Memorandum and Order.




                                                -3-
Case: 4:10-cv-00352-JAR Doc. #: 487 Filed: 08/31/17 Page: 4 of 4 PageID #: 49682




                                        JOHN A. ROSS
                                        UNITED STATES DISTRICT JUDGE
Dated this 31st day of August, 2017.




                                       -4-
